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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                       )
                                                    )
                          v.                        )       Docket No: 23-cr-10127-LTS
                                                    )
     RAFAEL DAVILA                                  )


                                  MOTION TO WITHDRAW

       The Defendant, Rafael Davila, moves to dismiss the undersigned as counsel of record and

for the appointment of new counsel.    There has been a breakdown in the attorney-client

relationship and Mr. Davila has directed undersigned counsel to withdraw.      A hearing is sought

as soon as possible to clarify the status of Mr. Davila’s representation in advance of the

September 13, 2024 sentencing hearing.

                                                        Respectfully submitted,
                                                        /s/ Scott Lauer
                                                        Scott Lauer,
                                                            B.B.O.: 667807
                                                        Assistant Federal Public Defender
                                                        Federal Public Defender Office
                                                        51 Sleeper Street, 5th Floor
                                                        Boston, MA 02210
                                                        617-223-8061 (phone)
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on September
10, 2024. A copy is also being provided to Senior U.S. Probation Officer Martha Victoria via
email.

                                                        /s/ Scott Lauer
                                                        Scott Lauer
